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 4                        UNITED STATES DISTRICT COURT
 5                       EASTERN DISTRICT OF CALIFORNIA
 6   PAUL CREIGHTON, an individual,           1:08-CV-01507-OWW-SMS
 7                             Plaintiff,     MEMORANDUM DECISION AND
 8                                            ORDER ON DEFENDANTS’ MOTION
                    v.                        FOR PARTIAL JUDGMENT ON THE
 9                                            PLEADINGS, OR
     CITY OF LIVINGSTON, a California         ALTERNATIVELY, MOTION TO
10   Municipal Corporation, RICHARD           DISMISS FOR FAILURE TO
     WARNE, an individual and in his          STATE A CLAIM (DOC. 10)
11   official capacity, and DOES 1-20,
     inclusive,
12                             Defendants.
13
14                              I.   INTRODUCTION

15        Plaintiff Paul Creighton (“Creighton”) filed suit against

16   his former employer, the City of Livingston, and former

17   supervisor, Richard Warne (collectively “Defendants”), on

18   September 2, 2008 in the Superior Court of California, County of

19   Merced.   On October 6, 2008, Defendants removed the action to

20   this court based on federal question jurisdiction pursuant to 28

21   U.S.C. §§ 1331, 1441, and 1446.     (Doc. 1, attaching Plaintiff’s

22   complaint as exhibit “A” and Defendants’ answer as exhibit “B”.)

23        Plaintiff alleges violations of his First and Fourteenth

24   Amendment rights under 42 U.S.C. § 1983.       Plaintiff also asserts

25   supplemental claims, including violation of article I, §§ 2 and 3

26   of the California Constitution, various California Labor Code

27   violations, and wrongful termination in violation of public

28   policy.   (Doc. 1, Exhibit A at 12-17.)

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 1        Before the court for decision is Defendants’ motion for
 2   partial judgment on the pleadings pursuant to Federal Rule of
 3   Civil Procedure 12(c), or alternatively, to dismiss for failure
 4   to state a claim pursuant to Federal Rule of Civil Procedure
 5   12(b)(6).1   (Doc. 10, filed Dec. 9, 2008.)
 6        Defendants challenge the § 1983 claim by asserting that: (1)
 7   Plaintiff’s Monell claim fails because he does not allege that a
 8   policy, custom, or practice of the City of Livingston caused his
 9   constitutional injury, and (2) Richard Warne, the City Manager,
10   is entitled to qualified immunity because a) Plaintiff’s speech
11   is not entitled to constitutional protection as it was made
12   pursuant to his professional responsibilities, and b) the right
13   at issue was not clearly established at the time of the alleged
14   violation.   As to the California claims, Defendants argue that:
15   (1) no private right of action for damages exists under the
16   California Constitution; (2) Plaintiff has failed to allege
17   administrative exhaustion with the California Labor Commissioner
18   as required under California Labor Code § 98.6 and § 1102.5 ; (3)
19   California Labor Code § 6310 does not apply to the facts of this
20   case; and (4) California’s Tort Claims Act bars Plaintiff’s
21
22
          1
             “A Rule 12(b)(6) motion must be made before the
23   responsive pleading.” MacDonald v. Grace Church Seattle, 457
24   F.3d 1079, 1081 (9th Cir. 2006) (quoting Elvig v. Calvin
     Presbyterian Church, 375 F.3d 951, 954 (9th Cir. 2004)) (internal
25   quotations and citations omitted) (emphasis in original).
     Because Defendants filed their answer on October 1, 2008,
26   Defendants’ Rule 12(b)(6) motion was made after they filed their
27   answer to the complaint. Defendants’ Rule 12(b)(6) motion is
     untimely and will not be considered. The only proper motion
28   before the court is Defendants’ Rule 12(c) motion. See id.

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 1   wrongful termination in violation of public policy claim.
 2
 3                                II.   BACKGROUND
 4        Plaintiff served as Defendant City of Livingston’s (the
 5   “City” or “Livingston”) Public Works Director from June 2004 to
 6   June 6, 2008.    (Compl. ¶ 5-6.)    In conjunction with his duties as
 7   Public Works Director, Plaintiff served as Acting City Manager
 8   from the start of his employment to May 2005.        (Compl. ¶¶ 7-8.)
 9   Plaintiff alleges that his employment record was “discipline-
10   free” and reflected “favorable performance evaluations and merit
11   increases.”    (Compl. ¶ 9.)
12        Plaintiff alleges that around late 2005 or early 2006,
13   Defendant Richard Warne (“Warne”) became Livingston’s City
14   Manager.    (Compl. ¶ 10.)   As City Manager, Warne managed City
15   funds and department budgets.      (Id.)    During Warne’s tenure, the
16   City was involved in the Proposition 13 Water Line Replacement
17   Project, a publicly-funded project.        (Compl. ¶ 12.)   While
18   managing this project, Plaintiff contends that Warne pressured
19   him to “approve multiple change orders that appeared to benefit
20   current and former City officials and/or persons linked to them.”
21   (Id.)    Plaintiff questioned Warne’s motives and the need for the
22   change orders, explaining to Warne that the orders would
23   adversely affect the budget.       (Id.)    Still, Warne took steps to
24   have the change orders approved.         (Id.)
25        Among Warne’s responsibilities as City Manager was
26   management of Livingston’s Water Enterprise Fund (“WEF”), which
27   is used to operate and maintain the City’s water system.         (Compl.
28   ¶ 10.)    Plaintiff had previously managed the WEF as Acting City

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 1   Manager.   (Compl. ¶ 11.)   Plaintiff alleges that under Warne’s
 2   management the WEF “was being depleted and that there appeared to
 3   be accounting discrepancies and inexplicable shifting monetary
 4   allocations.”    (Id.)   When Plaintiff brought his concerns to
 5   Warne’s attention, Plaintiff contends that Warne instructed him
 6   to “disregard those matters.”     (Id.)
 7        To replenish the depleted water funds and ensure the City’s
 8   ability to safely manage its water supply, Plaintiff asserts that
 9   a water rate study was needed to commence the process to approve
10   and secure rate increases.    (Compl. ¶ 13.)     Warne hired an
11   outside consultant to prepare the initial water rate study, which
12   was completed in 2006.    (Compl. ¶ 14.)    Plaintiff contends the
13   study was “forced to undergo significant changes,” delaying
14   completion of the study until early 2008.      (Id.)    Plaintiff
15   alleges that while the water rate study was being conducted,
16   Plaintiff informed   Warne on multiple occasions that the study
17   needed to be submitted to the public and Livingston’s City
18   Council for approval.    (Compl. ¶ 15.)    Plaintiff contends that
19   his “pleas” were ignored because Warne wanted to submit the water
20   rate study after Livingston’s City Council elections in November
21   2008.   (Id.)
22        In January 2008, Plaintiff discovered that one of the City’s
23   water wells was polluted with Coliform bacteria.       (Compl. ¶ 16.)
24   This posed potential health problems for Livingston residents and
25   users of the City water supply.     (Compl. ¶ 17.)     Plaintiff shut
26   down the polluted well, temporarily controlling the problem.
27   (Compl. ¶ 16.)   Plaintiff contends that he was able to shut down
28   the well because the contamination occurred in January, which is

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 1   not peak water use season.     (Compl. ¶ 16.)    However, if the
 2   problem arose during peak water use season, the well could not be
 3   shut down because the City would face dangerously low water
 4   pressure, backflow issues, and other public health risks.
 5   (Compl. ¶ 17.)    Plaintiff determined that the public health risks
 6   posed by the polluted well could be ameliorated by drilling a new
 7   well on an emergency basis.     (Id.)   However, the City’s shortage
 8   of funds and the delay in obtaining additional funds caused by
 9   Warne’s withholding of the water rate study put Plaintiff’s plan
10   for a new well on hold.     (Id.)
11          Plaintiff continued to request that Warne submit the study
12   for approval due to the public health and safety risks.        (Compl.
13   ¶ 18.)    Warne continued to refuse, telling Creighton that the
14   study would not be submitted until local elections occurred and
15   that he should not concern himself with the study.        (Id.)    In May
16   2008, which is peak water season, the polluted water well again
17   tested positive for Coliform bacteria.      (Comp. ¶ 19.)    Plaintiff
18   informed Warne about the positive test results, telling him about
19   the potential need for a well shut-down and the associated health
20   risks.    (Compl. ¶ 20.)   Plaintiff believed serious health
21   problems would result if the polluted well was shut down without
22   first adding a new well.     (Compl. ¶ 19.)   Warne became angry and
23   warned Plaintiff to keep quiet about the situation.        (Compl. ¶
24   20.)    Plaintiff contends that Warne again refused to submit the
25   water rate study until after local elections despite knowing
26   about the polluted well.     (Compl. ¶ 18.)   Plaintiff was unable to
27   shut down the well because it was now peak water season.          (Compl.
28   ¶ 19.)

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 1        Plaintiff believed that Warne “was ignoring, and
 2   exacerbating, a serious potential health hazard.”       (Compl. ¶ 21.)
 3   Acting on this belief, Plaintiff raised the issues of the
 4   polluted well problem, the health risks it posed, and Warne’s
 5   plan to delay submission of the water rate study with the City’s
 6   Mayor Pro Tem and Councilmember William Ingram and Councilmember
 7   Rodrigo Espinoza.    (Id.)   Plaintiff alleges that these
 8   discussions “occurred at non-Livingston owned property, during
 9   off-duty time and were not part of [Plaintiff’s] Public Works
10   Director duties.”    (Id.)   Plaintiff also alleges that Warne
11   learned of these discussions, summoned Plaintiff to his office
12   without prior notice, and fired Plaintiff without any
13   explanation.    (Compl. ¶ 23.)   When Plaintiff asked for a reason,
14   Warne said he was “taking the City in a different direction.”
15   (Id.)
16
17                        III.    STANDARD OF DECISION
18        A motion for judgment on the pleadings, pursuant to Federal
19   Rules of Civil Procedure Rule 12(c), challenges the legal
20   sufficiency of the opposing party's pleadings after the pleadings
21   are closed.    Judgment on the pleadings is appropriate when,
22   taking all of the allegations in the pleadings as true, the
23   moving party is entitled to judgment as a matter of law.        Honey
24   v. Distelrath, 195 F.3d 531, 532 (9th Cir. 1999) (citing Nelson
25   v. City of Irvine, 143 F.3d 1196, 1200 (9th Cir. 1998)).        The
26   court must assume the truthfulness of the material facts alleged
27   in the complaint.    All inferences reasonably drawn from these
28   facts must be construed in favor of the responding party.

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 1   Westlands Water Dist. v. Firebaugh Canal, 10 F.3d 667, 670 (9th
 2   Cir. 1993).    In addition, all allegations of fact by the party
 3   opposing the motion are accepted as true, and are construed in
 4   the light most favorable to that party.        McGlinchy v. Shell
 5   Chemical Co., 845 F.2d 802, 810 (9th Cir. 1988).         Where the
 6   allegations of the moving party have been denied by the non-
 7   moving party, those allegations are assumed to be false.          Hal
 8   Roach Studios, Inc. v. Richard Feiner & Co., 896 F.2d 1542, 1550
 9   (9th Cir. 1990) (citing Doleman v. Meiji Mut. Life Ins. Co., 727
10   F.2d 1480, 1482 (9th Cir. 1984)).        If matters outside of the
11   pleadings are considered by the court on a motion for judgment on
12   the pleadings, the motion shall be treated as one for summary
13   judgment.    Hal Roach Studios, Inc., 896 F.2d at 1550; Fed. R.
14   Civ. P. 12(c).
15
                                   IV. DISCUSSION
16
     A.    Section 1983 Claim
17
           Plaintiff’s first cause of action alleges violation of 42
18
     U.S.C. § 1983, which provides:
19
           Every person who, under color of any statute,
20         ordinance, regulation, custom or usage, of any State or
           Territory or the District of Columbia, subjects, or
21         causes to be subjected, any citizen of the United
           States or other person within the jurisdiction thereof
22         to the deprivation of any rights, privileges, or
           immunities secured by the Constitution and laws, shall
23         be liable to the party injured in an action at law,
           suit in equity, or other proper proceeding for redress
24         . . . .
25   42 U.S.C. § 1983.
26         Plaintiff alleges that Defendants violated his First and
27   Fourteenth Amendment rights by terminating his employment after
28   he discussed his concerns regarding the polluted well and water

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 1   rate study with the City’s council members.       (Compl. ¶¶ 6, 7.)
 2   Plaintiff claims that Defendants’ conduct in terminating his
 3   employment amounts to retaliation for exercising his First
 4   Amendment rights.    (Compl. ¶ 7.)
 5          Livingston contends that the § 1983 claim asserted against
 6   it fails because Plaintiff has not alleged that his
 7   constitutional rights were violated pursuant to a City custom,
 8   policy, or practice.    (Doc. 10 at 15.)    Defendants contend that
 9   the claim also fails because Warne is entitled to qualified
10   immunity because: 1) the speech Plaintiff engaged in was not
11   constitutionally protected, and 2) the right was not clearly
12   established at the time of the alleged violation.       (Doc. 10 at
13   18.)
14
15          1.   Monell Claim
16          Livingston argues that Plaintiff’s § 1983 claim against the
17   City fails because Plaintiff has failed to allege facts
18   establishing that his injury was a result of Livingston’s
19   customs, policy, or practice.
20          A local government may not be sued under § 1983 for an
            injury inflicted solely by its employees or agents.
21          Instead, it is when execution of a government’s policy
            or custom, whether made by its lawmakers or by those
22          whose edicts or acts may fairly be said to represent
            official policy, inflicts the injury that the
23          government as an entity is responsible under § 1983.
24   Monell v. Dep’t of Soc. Serv. of the City of N.Y., 436 U.S. 658,
25   694 (1978).
26          To prevail in a civil rights claim against a local
27   government under Monell, a plaintiff must satisfy a three-part
28   test:

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 1        (1)   The local government official(s) must have
                intentionally violated the plaintiff’s constitutional
 2              rights;
 3        (2)   The violation must be a part of policy or custom and
                may not be an isolated incident; and
 4
          (3)   There must be a link between the specific policy or
 5              custom to the plaintiff’s injury.
 6   Id. at 690-92.
 7        There are a number of ways to prove a policy or custom of a
 8   municipality.    A plaintiff may show (1) “a longstanding practice
 9   or custom which constitutes the ‘standard operating procedure’ of
10   the local government entity;” (2) “the decision-making official
11   was, as a matter of state law, a final policymaking authority
12   whose edicts or acts may fairly be said to represent official
13   policy in the area of decision;” or (3) “the official with final
14   policymaking authority either delegated that authority to, or
15   ratified the decision of, a subordinate.”      Menotti v. City of
16   Seattle, 409 F.3d 1113, 1147 (9th Cir. 2005).       The Ninth Circuit
17   recognizes that a municipal policy “may be inferred from
18   widespread practices or evidence of repeated constitutional
19   violations for which the errant municipal officers were not
20   discharged or reprimanded.”     Id.
21        Plaintiff has not pled the existence of any unconstitutional
22   policy, nor alleged any custom or pattern of activity on the part
23   of the City of Livingston.    Plaintiff, however, argues that he
24   “does not need to show a formal policy and, instead, he . . . can
25   show that it was the result of a deliberate decision by an
26   official, or officials, with final policymaking authority.”
27   (Doc. 15 at 9.)
28        A municipality may be liable under Monell for a single

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 1   incident where: (1) the person causing the violation has “final
 2   policymaking authority;” (2) the “final policymaker” “ratified” a
 3   subordinate’s actions; or (3) the “final policymaker” acted with
 4   deliberate indifference to a subordinate’s constitutional
 5   violations.     Christie v. Iopa, 176 F.3d 1231 (9th Cir. 1999).
 6        Moreover, Plaintiff contends that he has alleged sufficient
 7   facts in light of Karim-Panahi v. Los Angeles Police Department,
 8   839 F.2d 621, 624 (9th Cir. 1988), which determined:
 9        [A] claim of municipal liability under section 1983 is
          sufficient to withstand a motion to dismiss ‘even if
10        the claim is based on nothing more than a bare
          allegation that the individual officers’ conduct
11        conformed to official policy, custom, or practice.’
12   (quoting Shah v. County of L.A., 797 F.2d 743, 747 (9th Cir.
13   1986)) (emphasis added).
14        However, in this case, Plaintiff fails to meet even the
15   threshold requirement of a “bare allegation.”      The complaint does
16   not refer to any custom, policy, or practice of the City, nor
17   does it allege that Warne had any final policymaking authority
18   under Christie.     It is only Plaintiff’s opposition that asserts
19   that the Monell claim can be based on a showing that “it was the
20   result of a deliberate decision by an official, or officials,
21   with final policymaking authority.”     (Doc. 15 at 9.)    Even then,
22   Plaintiff identifies no policymaker or command-level decision or
23   ratification.    Because Plaintiff’s Monell allegations are non-
24   existent or unclear, Defendant Livingston’s motion for partial
25   judgment on the pleadings as to Plaintiff’s Monell claim is
26   GRANTED WITH LEAVE TO AMEND.
27
28

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 1        2.   Qualified Immunity
 2        “The doctrine of qualified immunity protects government
 3   officials from liability for civil damages insofar as their
 4   conduct does not violate clearly established statutory or
 5   constitutional rights of which a reasonable person would have
 6   known.”   Pearson v. Callahan, 129 S. Ct. 808, 815 (2009) (quoting
 7   Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)).       The doctrine
 8   grows out of the policy concern that few individuals would enter
 9   public service if they risked personal liability for their
10   official decisions.    Harlow, 457 U.S. at 814.    The immunity
11   protects “all but the plainly incompetent or those who knowingly
12   violate the law,”     Hunter v. Bryant, 502 U.S. 224, 229 (1991),
13   and "spare[s] a defendant not only unwarranted liability, but
14   unwarranted demands customarily imposed upon those defending a
15   long drawn out lawsuit.”     Siegert v. Gilley, 500 U.S. 226, 232
16   (1991).   Qualified immunity is “an immunity from suit rather than
17   a mere defense to liability.”     Pearson, 129 S. Ct. at 815
18   (quoting Mitchell v. Forsyth, 472 U.S. 511, 526 (1985)).
19        “Qualified immunity shields an officer from suit when she
20   makes a decision that, even if constitutionally deficient,
21   reasonably misapprehends the law governing the circumstances she
22   confronted.”    Brousseau v. Haugen, 543 U.S. 194, 198 (2004).
23   Recently in Pearson v. Callahan, the Supreme Court modified the
24   two-step sequence for resolving government officials’ qualified
25   immunity claims that it set forth in Saucier v. Katz, 533 U.S.
26   194 (2001).    See Pearson, 129 S. Ct. at 818; Tortu v. Las Vegas
27   Police Dep’t, 556 F.3d 1075, 1085 n.7 (9th Cir. 2009).        Under
28   Saucier, courts were required to undertake a two-part inquiry in

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 1   determining whether a government official was entitled to
 2   qualified immunity.      Saucier, 533 U.S. at 201.   First, a court
 3   examined whether the facts that a plaintiff alleged showed the
 4   government officer’s conduct violated a constitutional right.
 5   Id. at 201.      Second, “the court must decide whether the right at
 6   issue was ‘clearly established’ at the time of defendant’s
 7   alleged misconduct.”      Pearson, 129 S. Ct. at 816 (citing Saucier,
 8   533 U.S. at 201).      In Pearson, the Supreme Court held that the
 9   two-step sequence is no longer a mandatory “inflexible
10   requirement” in which step one must be considered before step
11   two.    Id. at 813.    Rather, district courts have discretion to
12   determine the order in which these inquiries take place.        Id. at
13   818.    The first inquiry is a question of fact and the second is a
14   question of law.      Tortu, 556 F.3d at 1085.
15
16               a.     Is There A Constitutional Violation?
17          Defendants argue Plaintiff did not engage in
18   constitutionally protected speech because he spoke as a City
19   employee pursuant to his official duties, not as a private
20   citizen.    (Doc. 10 at 13.)    Plaintiff disagrees, arguing he spoke
21   as a citizen when he complained to two Livingston council members
22   about public health and safety risks he believed were posed by
23   the polluted well and Warne’s delay in submitting the water rate
24   study for approval.      (Doc. 15 at 8-9.)
25          To sustain a First Amendment retaliation claim, a public
26   employee must show that:
27          (1) the employee engaged in constitutionally protected
            speech, (2) the employer took adverse employment action
28          against the employee, and (3) the employee’s speech was

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 1        a substantial or motivating factor in the adverse
          action.
 2
     Posey v. Lake Pend Oreille Sch. Dist. No. 84, 546 F.3d 1121, 1126
 3
     (9th Cir. 2008) (quoting Freitag v. Ayers, 468 F.3d 528, 543 (9th
 4
     Cir. 2006)) (internal quotations omitted).
 5
          Defendants contend Plaintiff cannot establish the first
 6
     element of his First Amendment retaliation claim - that he
 7
     engaged in constitutionally protected speech.      Defendants do not
 8
     attack the sufficiency of Plaintiff’s claim with respect to the
 9
     other two elements.   Under the first element of the test:
10
          the employee must demonstrate that (1) he spoke on a
11        matter of public concern, and (2) as a private citizen,
          and if this is established, then the burden shifts to
12        the public employer to show that (3) under the
          Pickering balancing test, the government’s legitimate
13        administrative interests outweigh the employee’s First
          Amendment rights.
14
     See Gibson v. Office of the Attorney Gen., 554 F.3d 759, 764 (9th
15
     Cir. 2009); Garcetti, 547 U.S. at 418; Eng v. Cooley, 552 F.3d
16
     1062, 1070-71 (9th Cir. 2009); Posey, 546 F.3d at 1126.
17
18
               1) Matter of Public Concern
19
          First, Defendants do not challenge Plaintiff’s assertion
20
     that he spoke on a matter of public concern.      Generally,
21
     “[s]peech involves a matter of public concern when it can fairly
22
     be considered to relate to any matter of political, social, or
23
     other concern to the community.”       Eng, 552 F.3d at 1070 (quoting
24
     Johnson v. Multnomah County, Or., 48 F.3d 420, 422 (9th Cir.
25
     1995)) (internal quotations omitted); see also Connick v. Myers,
26
     461 U.S. 138, 146 (1983).    Speech involving “individual personnel
27
     disputes and grievances” is generally not of public concern.
28

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 1   Eng, 552 F.3d at 1070.   Whether an employee’s speech addresses a
 2   matter of public concern is “determined by the content, form, and
 3   context of a given statement.”    Id. (quoting Johnson, 48 F.3d at
 4   422) (internal quotations omitted).
 5        Here, Plaintiff alleges he spoke to two Livingston council
 6   members regarding public health and safety concerns relating to
 7   the polluted city water well and Warne’s alleged mismanagement
 8   and waste of the WEF fund, general inefficiency as City Manager,
 9   and improper (and presumably unethical) decision to delay
10   submission of the water rate study until after local elections
11   were held.
12        With respect to Plaintiff expressing public health and
13   safety concerns due to the polluted well, the Ninth Circuit has
14   held that speech involving public safety issues is clearly a
15   matter of political, social, or other concern to the community.
16   See Posey, 546 F.3d at 1130; Gilbrook v. City of Westminster, 177
17   F.3d 839, 866 (9th Cir. 1999).    In Posey, a high school security
18   officer wrote a letter to the school district’s administrative
19   officer complaining of inadequate safety and security policies at
20   the school.   546 F.3d at 1124.   The Ninth Circuit found that
21   “whether fires had occurred in school buildings without proper
22   student evacuation, and whether students had brought deadly
23   weapons onto school premises” were matters that would be “of
24   great importance to any community concerned with the safety of
25   its school children.”    Id. at 1130.    The letter was
26   “unquestionably related to issues of political, social, or other
27   concern to the community sufficient to satisfy the First
28   Amendment.”   Id. (emphasis added).     In Gilbrook, 177 F.3d at 866,

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 1   a firefighter’s statement to the press expressing his opinion
 2   that the city council’s budget cuts had undermined the fire
 3   department’s ability to fight fires and protect lives was found
 4   to be a matter of public concern: “[i]n our view, an opinion
 5   about the preparedness of a vital public-safety institution, such
 6   as a fire department, goes to the core of what constitutes speech
 7   on matters of public concern.”    There is little doubt that
 8   Plaintiff’s statements to the council members regarding the
 9   safety issues posed by the polluted well - a threat to the health
10   of the entire community - constituted speech on a matter of
11   public concern.
12        Moreover, “misuse of public funds, wastefulness, and
13   inefficiency in managing and operating government entities are
14   matters of inherent public concern.”     Johnson, 48 F.3d at 425
15   (citing Roth v. Veteran’s Admin. of Gov’t of U.S., 856 F.2d 1401,
16   1405 (9th Cir. 1988)).   Matters of public concern including those
17   that relate to the functioning of government and are relevant to
18   the public’s evaluation of the performance of governmental
19   agencies merit the highest degree of First Amendment protection.
20   See Coszalter v. City of Salem, 320 F.3d 968, 973 (9th Cir.
21   2003); McKinley v. City of Eloy, 705 F.2d 1110, 1114 (9th Cir.
22   1983).   Plaintiff’s statements regarding Warne’s misuse and
23   mismanagement of the WEF and general wastefulness and
24   inefficiency are inherent matters of public concern.       See
25   Freitag, 468 F.3d at 545 (speech concerning prison
26   administrator’s mismanagement was of public concern); Roth, 856
27   F.2d at 1406 (speaking out “for the express purpose of addressing
28   management and operational problems besetting the [Veteran’s

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 1   Administration]” is a matter of public concern).       Additionally,
 2   corruption allegations like Plaintiff’s accusations that Warne
 3   was delaying the water rate study for an improper and unethical
 4   political purpose have “all of the hallmarks that we normally
 5   associate with constitutionally protected speech.”        Marable v.
 6   Nitchman, 511 F.3d 924, 932 (9th Cir. 2007).      Plaintiff’s
 7   statements are clearly related to the functioning of the City of
 8   Livingston and contain relevant information for a citizen to
 9   evaluate the performance of Livingston’s departments and
10   agencies.    As such, they involve matters of public concern.
11
12               2) As A Citizen
13        Second, the plaintiff must allege that he spoke as a private
14   citizen and not as a public employee.     To qualify as
15   constitutionally protected speech, the employee “must have
16   uttered the speech as a citizen” and not “pursuant to their
17   official duties.”    Marable, 511 F.3d at 929 (citing Garcetti, 547
18   U.S. at 421).    This is a mixed question of fact and law.      “While
19   the question of the scope and content of a plaintiff’s job
20   responsibilities is a question of fact, the ultimate
21   constitutional significance of the facts as found is a question
22   of law.”    Eng, 552 F.3d at 1071 (citing Posey, 546 F.3d at 1129-
23   31) (internal quotations omitted).     “[S]tatements are made in the
24   speaker’s capacity as citizen if the speaker had no official duty
25   to make the questioned statements or if the speech was not the
26   product of performing the tasks the employee was paid to
27   perform.”    Posey, 546 F.3d at 1127 n.2.
28        Plaintiff alleges his discussions with the council members

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 1   about Warne and the polluted water well occurred “at non-
 2   Livingston owned property, during off-duty time and were not part
 3   of [his] Public Works Director duties.”      (Compl. ¶ 21).    There is
 4   no indication that Plaintiff had an official duty to report his
 5   concerns to the council members or that in doing so he was
 6   performing a task for which he was paid.      Plaintiff was not a
 7   direct reporter to the council members.      The allegations suggest
 8   that, in fact, Plaintiff went around Warne to report to the
 9   council members after repeatedly raising his concerns with Warne.
10   Plaintiff asserts that he informed the council members of his
11   concerns for public health and safety after Warne ignored his
12   pleas and, in Plaintiff’s view, exacerbated the health risks
13   involved.
14        Plaintiff’s speech is similar to that of the female
15   corrections officer in Freitag, 468 F.3d at 545, where the Ninth
16   Circuit determined that the officer’s letters to her state
17   senator concerning sexual harassment in the prison where she
18   worked were written as a private citizen.      The court reasoned
19   that the officer’s right to complain to an elected public
20   official “is guaranteed to any citizen in a democratic society
21   regardless of his status as a public employee” and her
22   communication “bore similarities to letters submitted by numerous
23   citizens every day.”    Id.   It was not part of the officer’s
24   official tasks to complain to the senator but was her
25   “responsibility as a citizen to expose such official malfeasance
26   to broader scrutiny.”   Id. (emphasis in original).      Here,
27   Plaintiff’s complaints to the two council members are analogous
28   to complaints citizens regularly lodge with their elected

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 1   officials.
 2        Defendants argue that Plaintiff was directly responsible for
 3   well contamination issues and that because the water rate study
 4   impacted the resolution of the contamination issue, it was also
 5   within Plaintiff’s professional duties as Public Works Director.
 6   (Doc. 10 at 13-14.)    First, with respect to the water study and
 7   fund, the complaint expressly alleges that Warne was responsible
 8   for the water study and that he managed the WEF at the time of
 9   the speech at issue.   Second, the fact that Plaintiff’s speech
10   concerned the subject matter of his employment is not
11   dispositive, as the First Amendment protects some expressions
12   related to the speaker’s job.     Garcetti, 547 U.S. at 421.
13   Garcetti cited Pickering’s observation that teachers are the
14   community members “most likely to have informed and definite
15   opinions as to how funds allotted to the operations of the
16   schools should be spent.    Accordingly, it is essential that they
17   be able to speak out freely on such questions without fear of
18   retaliatory dismissal.”    Id. (internal quotations and citations
19   omitted).    Garcetti noted the same is true of many other
20   categories of public employees.     Id.; see also San Diego v. Roe,
21   543 U.S. 77, 82 (2004) (“Public employees are often the members
22   of the community who are likely to have informed opinions as to
23   the operations of their public employers, operations which are of
24   substantial concern to the public. Were they not able to speak on
25   these matters, the community would be deprived of informed
26   opinions on important public issues. The interest at stake is as
27   much the public’s interest in receiving informed opinion as it is
28   the employee’s own right to disseminate it.”) (citation omitted).

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 1   Third, Defendants’ arguments regarding the scope of Plaintiff’s
 2   job responsibilities cannot conclusively establish as a matter of
 3   law that Plaintiff’s statements were made as a City employee
 4   pursuant to his professional responsibilities.       At most, in light
 5   of the allegations of the complaint and the fact that the scope
 6   of job duties is a question of fact, Defendants raise disputed
 7   factual issues that preclude judgment on the pleadings under Rule
 8   12(c).
 9        Defendants also argue that the gravamen of Plaintiff’s
10   communication with the council members concerned his grievances
11   as an employee about conflicts with his supervisor, which is not
12   entitled to constitutional protection.     See Connick, 461 U.S. at
13   154 (while the First Amendment invests public employees with
14   certain rights, it does not empower them to “constitutionalize
15   the employee grievance”).    But Plaintiff’s allegations did not
16   concern the “minutiae of workplace grievances.”       Havekost v. U.S.
17   Dep’t of the Navy, 925 F.2d 316, 319 (9th Cir. 1991) (finding
18   speech of a grocery bagger employed by Naval Station’s commissary
19   expressing her objections to the new employee dress code and a
20   proposed increase in the number of baggers per shift did not
21   relate to a matter of public concern).     They are unlike the
22   dispute in Connick, where an employee slated to be transferred to
23   another section distributed a questionnaire to fellow employees
24   regarding the office’s transfer policy, morale, need for a
25   grievance committee and other matters that the court held were
26   “matters only of personal interest.”     Connick, 461 U.S. at 147.
27   Plaintiff’s allegations concerned the functioning of the
28   Livingston municipal government and safety of a City well, not

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 1   internal office affairs or personnel disputes.
 2        Finally, Defendants contend that Plaintiff did not act as a
 3   private citizen because he did not publicly expose his concerns.
 4   This argument fails.   In holding that a public employee does not
 5   forfeit his free speech rights because he expresses his views
 6   privately rather than publicly, the Supreme Court stated:
 7   “Neither the [First] Amendment itself nor our decisions indicate
 8   that this freedom is lost to the public employee who arranges to
 9   communicate privately with his employer rather than to spread his
10   views before the public.”    Givhan v. W. Line Consol. Sch. Dist.,
11   439 U.S. 410, 415-16 (1979); see Ulrich v. City and County of San
12   Francisco, 308 F.3d 968, 979 (9th Cir. 2002) (“Although there is
13   no evidence that [the public employee] expressed his views to the
14   press or representatives of the public at large, this does not
15   defeat his claim.”).
16        Plaintiff’s complaint sufficiently pleads that he spoke as a
17   citizen to withstand a Rule 12(c) motion.
18
19             3) Pickering balancing test
20         Third, once the first two elements establish that a public
21   employee spoke as a citizen on a matter of public concern, the
22   next inquiry applies the Pickering balancing test.       Defendants
23   argue that the Pickering factors weigh in favor of Livingston’s
24   interests.   (Doc. 10 at 19-21.)    The Pickering balancing test
25   entails striking “a balance between the interests of [the
26   employee], as a citizen, in commenting upon matters of public
27   concern and the interest of the State, as an employer, in
28   promoting the efficiency of the public services it performs


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 1   through its employees.”     Pickering v. Bd of Educ. of Township
 2   High Sch. Dist. 205, 391 U.S. 563, 568 (1968).       Here the burden
 3   shifts to the government employer to show that “the
 4   [government’s] legitimate administrative interests outweigh the
 5   employee’s First Amendment rights.”     Eng, 552 F.3d at 1071
 6   (quoting Thomas v. City of Beaverton, 379 F.3d 802, 808 (9th Cir.
 7   2004)).   The Pickering inquiry asks:
 8        whether the relevant government entity had an adequate
          justification for treating the employee differently
 9        from any other member of the general public.
10   Eng, 552 F.3d at 1071 (quoting Garcetti, 547 U.S. at 418).        “A
11   government entity has broader discretion to restrict speech when
12   it acts in its role as employer, but the restrictions it imposes
13   must be directed at speech that has some potential to affect the
14   entity’s operations.”     Garcetti, 547 U.S. at 418.
15        None of the allegations in the complaint demonstrate that
16   Plaintiff’s speech in any way “so severely damaged office harmony
17   and working relationships that the government’s interest in
18   promoting an effective workplace outweighs [the employee’s] First
19   Amendment rights.”   Hyland v. Wonder, 972 F.2d 1129, 1139 (9th
20   Cir. 1992).   This case is at the pleading stage so Defendants
21   offer no evidence of inefficiency or disruption in the workplace.
22   “The more tightly the First Amendment embraces the speech the
23   more vigorous a showing of disruption must be.”        Id.   Because
24   Plaintiff’s statements concerned the functioning of government
25   and public health and safety issues, they are entitled to the
26   highest degree of First Amendment protection.
27        Defendants argue that Plaintiff’s “alleged statements would
28   have definitely disrupted and eroded Plaintiff’s working


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 1   relationship” with Warne and would create distrust.         (Doc. 10 at
 2   20-21.)   But Defendants must show more than mere disruption.
 3   Johnson, 48 F.3d at 427.        They “must show actual injury” to
 4   legitimate interests.         Id.   In a whistleblowing situation like
 5   this, the government “does not have a legitimate interest in
 6   covering up mismanagement or corruption and cannot justify
 7   retaliation against whistleblowers as a legitimate means of
 8   avoiding the disruption that necessarily accompanies such
 9   exposure.”      Id.     Moreover, Defendants’ allegations are only of
10   the potential for disturbance to the workplace, compared to the
11   strong free speech interest in Plaintiff’s speech that concerned
12   public health and safety and the proper functioning of
13   government.
14        Taking Plaintiff’s allegations as true, at this stage of the
15   case Defendants have not met their burden under Pickering to show
16   that their interest in workplace efficiency outweighs Plaintiff’s
17   free speech interest to defeat his claim.         Having determined that
18   Plaintiff has sufficiently alleged that he spoke as a citizen on
19   a matter of public concern, his complaint states a cognizable
20   First Amendment retaliation claim.
21
22              b.         Is the Law Clearly Established?
23        Defendants argue it is not clearly established that the
24   speech in which Plaintiff engaged is constitutionally protected.
25   Citing Brewster, Defendants contend that because under Pickering,
26   the speech determination is “fact-sensitive” and “context-
27   specific,” the law regarding public employee free speech
28   retaliation claims will rarely be clearly established to preclude

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 1   qualified immunity.   Brewster v. Board of Education, 149 F.23d
 2   971, 979-80 (9th Cir. 1998).
 3         However, there is a series of cases in the Ninth Circuit
 4   establishing that “the public’s interest in learning about
 5   illegal conduct by public officials and other matters at the core
 6   of First Amendment protection outweighs a state employer’s
 7   interest in avoiding a mere potential disturbance to the
 8   workplace.”   Keyser v. Sacramento City Unified Schools, 265 F.3d
 9   741, 748 (2001) (emphasis in original).      In Gilbrook, the Ninth
10   Circuit held it was clearly established that it would violate the
11   First Amendment to fire several firefighters who had public
12   criticized the city’s preparedness for fires.      177 F.3d at 867-
13   70.   Because there was no evidence of actual disruption in the
14   workplace or fire services, the court concluded that the “nominal
15   showing of potential disruption is plainly inadequate to outweigh
16   the heavy interests” of the firefighter in speaking out about
17   fire preparedness and of citizens in receiving such information.
18   Id. at 869.   In Keyser, where the court held it was clearly
19   established that the Pickering balancing test favored the
20   employees, there was no evidence of any actual disruption in the
21   workplace but the defendant speculated that the speech at issue
22   must have significantly disrupted the school district.        265 F.3d
23   at 749.   Here too there is no such evidence or even allegation,
24   only speculation regarding the potential for disruption.
25         Defendants argue Brewster establishes that because the
26   Pickering test requires context-specific balancing, the law
27   regarding free speech retaliation claims will rarely if ever be
28
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 1   clearly established to preclude qualified immunity.       But Keyser
 2   explains that Brewster is distinguishable:
 3             However, it is Brewster that is distinguishable. In
               Brewster, we decided that qualified immunity was
 4             warranted because the particular balance of free speech
               and workplace disruption in that case was both
 5             unprecedented and too close to call to say it was
               clearly established. But unlike this case, the
 6             government employer in Brewster pointed to testimony in
               the record where other employees stated that Brewster’s
 7             allegations of falsified attendance records had caused
               disruption at the workplace.
 8
     Keyster, 265 F.3d at 749.    Here the record does not demonstrate a
 9
     close call in the balancing between free speech and workplace
10
     disruption because, given the subject of Plaintiff’s expression,
11
     the free speech interest is clearly strong while only a potential
12
     for disruption has been alleged.       Thus, Brewster is also
13
     distinguishable from this case.
14
15        Whistleblowing speech “is a particular kind of speech on
16   matters of public concern.    It was already the law of this
17   circuit in 1993 that the state’s legitimate interest in workplace
18   efficiency and avoiding workplace disruption does not weigh as
19   heavily against whistleblowing speech as against other speech on
20   matters of public concern.”    Rivero v. City and County of San
21   Francisco, 316 F.3d 857, 866 (9th Cir. 2002).      Moreover, in
22   holding that it was clearly established that a plaintiff’s
23   criticisms of the VA for wastefulness and ethical and statutory
24   violations outweighed the VA’s interests, the Ninth Circuit in
25   Roth stated: “[a]n employee who accurately exposes rampant
26   corruption in her office no doubt may disrupt and demoralize much
27   of the office. But it would be absurd to hold that the First
28
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 1   Amendment generally authorizes corrupt officials to punish
 2   subordinates who blow the whistle simply because the speech
 3   somewhat disrupted the office.”        856 F.2d at 1407-08.
 4          Plaintiff’s speech in this case can be classified as
 5   whistleblowing in that he sought to expose waste, unethical
 6   behavior, mismanagement and safety violations.          Plaintiff’s
 7   warning to city council members about the polluted well, water
 8   rate study, and associated health risks is analogous to the VA
 9   doctor’s accusations of waste, ethical and safety violations, and
10   mismanagement in Roth.      For purposes of a Rule 12(c) motion, on
11   the record before the court, the strong interest in Plaintiff’s
12   whistleblowing speech related to public health and safety and
13   operation of Livingston’s government plainly outweighs the City’s
14   potential disruption to the workplace and this was clearly
15   established under Ninth Circuit authority when Plaintiff was
16   terminated.
17          Defendants’ motion for partial judgment on the pleadings on
18   the ground of qualified immunity is DENIED.
19
20   B.     California Constitution article I, §§ 2 and 3
21          Defendants argue that Plaintiff cannot sustain a claim for
22   damages under article I, §2 and § 3 of the California
23   Constitution as a matter of law, because no private right to
24   damages exists.     (Doc. 10 at 11.)      In Katzberg v. Regents of the
25   University of California, 29 Cal. 4th 300, 303 (2002), the
26   California Supreme Court considered:
27          [W]hether an individual may bring an action for money
28
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 1        damages on the basis of an alleged violation of a
          provision of the California Constitution, in the
 2        absence of a statutory provision of an established
          common law tort authorizing such a damage remedy for
 3        the constitutional violation.
 4        Katzberg provided a framework to guide courts in deciding
 5   whether a constitutional tort for damages will be recognized
 6   under any given constitutional provision.
 7        First, [the court] shall inquire whether there is
          evidence from which [the court] may find or infer,
 8        within the constitutional provision at issue, and
          affirmative intent either to authorize or to withhold a
 9        damages action to remedy a violation.
10        [In deciding this factor, the court looks to] the
          language and history of the constitutional provision at
11        issue, including whether it contains guidelines,
          mechanisms, or procedures implying a monetary remedy,
12        as well as any pertinent common law history.
13        Second, if no affirmative intent either to authorize or
          to withhold a damages remedy is found, [the court]
14        shall undertake the ‘constitutional tort’ analysis
          adopted by Bivens [v. Six Unknown Fed. Narcotics
15        Agents, 403 U.S. 388 (1971)] and its progeny.
16        [In deciding the second prong] the relevant factors
          [include] whether an adequate remedy exists, the extent
17        to which a constitutional tort action would change
          established tort law, and the nature and significance
18        of the constitutional provision.
19        [Finally,] [i]f [the court] find[s] that these factors
          militate against recognizing the constitutional tort,
20        our inquiry ends. If, however, [the court] find[s]
          that these factors favor recognizing a constitutional
21        tort, we also shall consider the existence of any
          special factors....
22
     Id. at 317 (emphasis added).    Although Plaintiff opposes
23
     Defendants’ position that no damages remedy is available under
24
     article I, §§ 2 and 3, Plaintiff argues, in the alternative, that
25
     the complaint also seeks injunctive relief.      (Doc. 15 at 6.)
26
          Katzberg maintained that most constitutional provisions,
27
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 1   including article I, §§ 2 and 3, support “an action, brought by a
 2   private plaintiff against a proper defendant, for declaratory
 3   relief or for injunction.”    Id. at 307 (citing Skelly v. State
 4   Pers. Bd., 15 Cal. 3d 194 (1975)); see also Degrassi v. Cook, 29
 5   Cal. 4th 333, 338 (2002) (citing Katzberg, 29 Cal. 4th at 307).
 6        With respect to Plaintiff’s claim under article I, §§ 2
 7   and 3, the complaint only seeks damages.      (Compl. ¶ 32.)
 8   However, the complaint includes a general request for Plaintiff’s
 9   reinstatement to his position in the prayer for relief.        (Compl.
10   at 17.)   Because it is unclear whether Plaintiff seeks injunctive
11   or declaratory relief with regard to this claim, Defendant’s
12   motion for partial judgment on the pleadings is GRANTED WITH
13   LEAVE TO AMEND as to equitable relief.     The motion is GRANTED
14   WITH PREJUDICE as to the damages claim for the reasons discussed
15   below.
16
17        1.   Article I, § 2
18        Article I, § 2 of the California Constitution states that
19   “[e]very person may freely speak, write and publish his or her
20   sentiments on all subjects, being responsible for the abuse of
21   this right.    A law may not restrain or abridge liberty of speech
22   or press.”    Cal. Const. art. I, § 2.
23        Defendants argue that they are entitled to judgment on the
24   pleadings with regard to Plaintiff’s article I, § 2 claim because
25   this provision of the California Constitution does not allow a
26   private right of action for damages.     (Doc. 10 at 11.)
27   Defendants rely on Degrassi v. Cook, 29 Cal. 4th 333, 335 (2002),
28
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 1   the companion case to Katzberg, where the California Supreme
 2   Court considered whether article I, § 2(a) provided such a
 3   remedy.    Id.   Plaintiff, however, argues that Degrassi is not
 4   determinative because the court declined to recognize a
 5   constitutional tort action for damages under article I, § 2(a) in
 6   the specific circumstances that case presented: a city council
 7   member who claimed interference with her functioning and
 8   effectiveness as a legislator.    (Doc. 15 at 6.)     Plaintiff argues
 9   the reasoning in Degrassi should not apply to this case.        (Id.)
10          However, “[t]he task of a federal court in a diversity
11   action is to approximate state law as closely as possible in
12   order to make sure that the vindication of the state right is
13   without discrimination because of the federal forum.”       Gee v.
14   Tenneco, 615 F.2d 857, 861 (9th Cir. 1980).      In doing so, federal
15   courts are bound by the pronouncement of the state’s highest
16   court on applicable state law.     Davis v. Metro Prod., Inc., 885
17   F.2d 515, 524 (9th Cir. 1989); see also Golden West Ref. Co. v.
18   Suntrust Bank, 538 F.3d 1233, 1237 (9th Cir. 2008).       “Where the
19   state’s highest court has not decided an issue, the task of the
20   federal courts is to predict how the state high court would
21   resolve it.”     Dimidowich v. Bell & Howell, 803 F.2d 1473, 1482
22   (9th Cir. 1986), modified at 810 F.2d 1517 (9th Cir. 1987).        In
23   assessing how a state’s highest court would resolve a state law
24   question - absent controlling state authority - federal courts
25   look to existing law without predicting potential changes in that
26   law.    Moore v. R.G. Indus., Inc., 789 F.2d 1326, 1327 (9th Cir.
27   1986).
28
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 1        Degrassi applied the Katzberg framework to article I, § 2(a)
 2   and concluded that the provision did not provide a remedy for
 3   damages.   Degrassi, 29 Cal. 4th at 344.     The court, however,
 4   limited its holding and stated that the present case did “not
 5   mean that the free speech clause, in general, never will support
 6   an action for money damages.”    Id.   Nevertheless, Degrassi
 7   provides decisional law regarding the application of the Katzberg
 8   framework to an article I, § 2 claim and the district court is
 9   bound by Degrassi.
10        Degrassi first looked to the express language of article I,
11   § 2 to determine whether it provided a remedy in damages.        Id.
12   The court concluded that “the words of [article I, § 2] do not
13   explicitly disclose an intent either to authorize or to withhold
14   damages as a remedy for violation of the provision.”       Id. at 339.
15        The court then considered whether article I, § 2 intended to
16   provide one.   Id.   In doing so, the court reviewed the available
17   drafting history of the constitutional provision, ballot
18   materials from the provisions amendment in 1974, and common law
19   history to determine whether a damages remedy should be implied.
20   See id. at 339-42.   The court concluded that “there is no
21   indication in the language of article I, section (2)(a), nor any
22   evidence in the history of that provision, from which [the court]
23   may find, within that provision, an implied right to seek damages
24   for a violation of the free speech right set out therein.”         Id.
25   at 342.
26        After concluding that article I, § 2 neither expressly nor
27   impliedly provided a remedy in damages, the court considered the
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 1   second prong of the Katzberg framework and determined the first
 2   two factors under the second prong - the existence of adequate
 3   alternative remedies and the extent to which a constitutional
 4   tort action would change established tort law - “militate against
 5   recognition of a constitutional tort action.”      Id. at 342-43.
 6   Regarding the third factor, the nature and significance of the
 7   constitutional provision, the court stated that while “the free
 8   speech clause reflects an important and fundamental interest,”
 9   that factor alone “is not a factor of great significance.”        Id.
10   at 343.    Degrassi specifically found that the third factor is not
11   of great significance “when the considerations mentioned above do
12   not militate in favor of recognizing a constitutional tort
13   action.”   Id.   The final factor considered under the second prong
14   is “whether any special factors would counsel hesitation” in
15   recognizing a damages action.    Katzberg, 29 Cal. 4th at 329.
16        Once the court determines that the factors preceding the
17   special factors “militate against recognizing the constitutional
18   tort, [the] inquiry ends.”    Id. at 317.    A court only considers
19   “the existence of any special factors” when the other factors
20   favor recognition of a constitutional tort.      Id.   Despite the
21   fact that all of the previous factors the court analyzed
22   militated against recognizing a damages remedy under Article I, §
23   2(a), Degrassi nonetheless proceeded to analyze the “special
24   factors,” Degrassi, 29 Cal. 4th at 343:
25        But even if we were, at this point in our analysis,
          inclined toward recognizing a constitutional tort
26        action for damages in the case before us, a final
          factor would counsel strongly against - and on the
27        facts alleged, preclude - recognition of such an
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 1        action.
 2   The court concluded “the loss of damage of which plaintiff here
 3   complains - interference with her functioning and effectiveness
 4   as a legislator - does not support recognition of a
 5   constitutional tort for damages.”      Id. at 344.
 6        Here, no special factors exist.     There are no practical
 7   problems of proof or difficulty in ascertaining damages like in
 8   Degrassi.    Thus, Degrassi’s application of all of the Katzberg
 9   factors controls.    Degrassi found no express or implied
10   legislative intent to authorize a damages remedy for a violation
11   of article I, § 2(a) and also determined that no factors
12   supported the conclusion that the court should recognize a
13   constitutional tort action.    As in Degrassi, there is no reason
14   to recognize a constitutional tort under the circumstances of
15   this case.
16        Defendants’ motion for partial judgment on the pleadings is
17   GRANTED WITH PREJUDICE with regard to the damages claim.
18   Plaintiff is GRANTED LEAVE TO AMEND as to equitable relief.
19
20        2.     Article I, § 3
21        Defendants also challenge Plaintiff’s article I, § 3 claim.
22   (Doc. 10 at 11.)    Article I, § 3 provides: “[t]he people have the
23   right to instruct their representatives, petition government for
24   redress of grievances, and assemble freely to consult for the
25   common good.”    Cal. Const. art. I, § 3.    Defendants argue that no
26   California court has addressed whether article I, § 3 provides a
27   remedy in damages.
28
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 1          The district court “may decline to exercise supplemental
 2   jurisdiction over a claim if . . . the claim raises a novel or
 3   complex issue of State law.”    28 U.S.C. § 1367(c)(1).     “The
 4   decision to exercise supplemental jurisdiction is within the
 5   discretion of the district court.”     Fang v. U.S., 140 F.3d 1238,
 6   1244 (9th Cir. 1998).
 7          In Khatib v. County of Orange, No. SACV07-1012DOC(MLGx),
 8   2008 WL 822562, at *11 (C.D. Cal. Mar. 26, 2008), the plaintiff
 9   brought an action alleging that the defendant violated his rights
10   under article I, § 4 of the California Constitution.       The
11   district court did not apply the Katzberg analysis to article I,
12   § 4.    Id.   Khatib explained, “[t]he California Courts have not
13   yet addressed whether such a private suit for monetary damages is
14   available under Article I, Section 4.”     Id.   The issue presented
15   “a matter of first impression under California law.”       Id.     The
16   district court declined supplemental jurisdiction:
17          In addition to being a matter of first impression, and
            therefore novel, the determination of whether a private
18          action for money damages exists also appears complex.
19   Id.
20          As in Khatib, whether § 3 provides for a damages remedy has
21   not been addressed by California courts, presenting a novel issue
22   which need not be reached considering the complexities of the
23   Katzberg framework and an existing available remedy.       This issue
24   is best left to the California courts.
25          Defendants’ motion for partial judgment on the pleadings is
26   GRANTED WITH PREJUDICE with regard to the damages claim.
27   Plaintiff is GRANTED LEAVE TO AMEND as to equitable relief.
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 1   C.     California Labor Code § 98.6
 2          Plaintiff claims that Livingston terminated his employment
 3   as Public Works Director in violation of California Labor Code
 4   § 98.6, which prohibits an employer from discharging an employee
 5   for engaging in certain conduct.          (Compl. ¶ 8.)   Livingston
 6   argues that the complaint fails to allege Plaintiff was engaged
 7   in conduct protected by § 98.6.        (Doc. 10 at 16.)
 8   Section 98.6, subdivision (a) provides:
 9                No person shall discharge an employee or in any manner
                  discriminate against any employee or applicant for
10                employment because the employee or applicant engaged in
                  any conduct delineated in this chapter, including the
11                conduct described in subdivision (k) of Section 96, and
                  Chapter 5 (commencing with Section 1101) of Part 3 of
12                Division 2, or because the employee or applicant for
                  employment has filed a bona fide complaint or claim or
13                instituted or caused to be instituted any proceeding
                  under or relating to his or her rights, which are under
14                the jurisdiction of the Labor Commissioner, or because
                  the employee has initiated any action or notice
15                pursuant to Section 2699, or has testified or is about
                  to testify in any such proceeding or because of the
16                exercise by the employee or applicant for employment on
                  behalf of himself, herself, or others of any rights
17                afforded him or her.
18   Cal. Lab. Code § 98.6 (emphasis added).
19          California Labor Code § 96(k) incorporates “lawful conduct
20   occurring during nonworking hours away from the employer’s
21   premises” into § 98.6(a).       The complaint alleges that Plaintiff
22   engaged in the lawful conduct of exercising his free speech
23   rights in discussing the polluted well issues with the City’s
24   mayor pro tem and council member.          (Compl. ¶ 35.)   The complaint
25   also alleges that the discussions occurred “during off-duty time”
26   and away from Livingston owned property.          (Compl. ¶ 21.)
27   Accepted as true, these allegations facially establish that the
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 1   conduct engaged in by Plaintiff falls within the conduct
 2   contemplated by § 98.6.
 3        Livingston contends that Plaintiff failed to allege that “he
 4   filed a bona fide claim with the Labor Commissioner,” arguing
 5   such a step is required under California law prior to filing a
 6   lawsuit.   (Doc. 10 at 16.)   Plaintiff challenges Livingston’s
 7   allegation as unsupported by legal authority.      (Doc. 15 at 11.)
 8   Neither party cites relevant authority establishing that § 98.6
 9   does or does not require exhaustion of administrative proceedings
10   prior to filing a lawsuit.
11        California Labor Code § 98(a) provides that “[t]he Labor
12   Commissioner shall have the authority to investigate employee
13   complaints” and grants the Labor Commissioner the authority to
14   “determine all matters arising under his or her jurisdiction.”
15   Moreover, California Labor Code § 98.7(a) states that “[a]ny
16   person who believes that he or she has been discharged or
17   otherwise discriminated against in violation of any law under the
18   jurisdiction of the Labor Commissioner may file a complaint with
19   the division,” providing an administrative remedy.       California
20   law generally provides: “[W]here an administrative remedy is
21   provided by statute, relief must be sought from the
22   administrative body and this remedy exhausted before the courts
23   will act.”   Campbell v. Regents of the Univ. of Cal., 35 Cal.4th
24   311, 321 (2005) (quoting Abelleira v. Dist. Ct. of Appeal, 17
25   Cal.2d 280, 292 (1941)) (internal quotations omitted).
26   “Exhaustion of administrative remedies is a jurisdictional
27   prerequisite to resort to the courts.”     Campbell, 35 Cal.4th at
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 1   321 (quoting Johnson v. City of Loma Linda, 24 Cal.4th 61, 70
 2   (2000)) (internal quotations omitted).     The doctrine of
 3   exhaustion of administrative remedies is a well-established rule
 4   of California jurisprudence that “is not a matter of judicial
 5   discretion, but is a fundamental rule of procedure...binding upon
 6   all courts.”   Abelleira, 17 Cal.2d at 293.
 7        Section 98.7 prescribes an administrative remedy for persons
 8   discharged or discriminated against in violation of any law under
 9   the jurisdiction of the Labor Commissioner.      Section 98.6 falls
10   within the Labor Commissioner’s jurisdiction.      See Cal. Lab. Code
11   §§ 21, 79.   Accordingly, section 98.6 is subject to section
12   98.7's administrative exhaustion provision.      Because under
13   California law an administrative remedy that is provided by
14   statute must be exhausted prior to resort to the courts,
15   Plaintiff is required to first exhaust his section 98.6 claim
16   administratively.   See Hall v. Apartment Inv. & Mgmt. Co., No.
17   08-CV-3447 CW, 2008 WL 5396361, at *10 (N.D. Cal. Dec. 19, 2008)
18   (determining § 98.7's administrative exhaustion requirement
19   applies to § 98.6); Neveu v. City of Fresno, 392 F.Supp.2d 1159,
20   1179-80 (E.D. Cal. 2005) (considering § 98.6 as within the
21   purview of § 98.7 and requiring exhaustion of administrative
22   remedies with the Labor Commissioner prior to filing suit that
23   asserts a § 1102.5 claim).
24        Plaintiff argues that the complaint sufficiently alleges
25   that all administrative remedies have been exhausted.       (Doc. 15
26   at 11.)   The complaint states: “Prior to commencing this lawsuit,
27   [Plaintiff] complied with the California Tort Claims Act and he
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 1   exhausted all applicable administrative remedies.”       (Compl.
 2   ¶ 24.)   However, Livingston argues that aside from this
 3   “conclusory allegation . . . Plaintiff has not alleged any facts
 4   showing that he filed a complaint with the Labor Commissioner
 5   prior to filing his lawsuit.”    (Doc. 17 at 2, Defendant’s Reply,
 6   filed Mar. 2, 2009.)
 7        To properly allege exhaustion of administrative proceedings,
 8   a plaintiff must articulate facts supporting his or her
 9   allegation that the relevant administrative remedies have been
10   exhausted.   See Bowman v. Yolo County, No. 2:08-cv-00498-GEB-EFB,
11   2008 WL 3154691, at *2 (E.D. Cal. Aug. 4, 2008) (finding that the
12   plaintiff failed to allege facts supporting exhaustion of
13   administrative remedies with the Labor Commissioner).       Under Fed.
14   R. Civ. P. 8(a)(2), a complaint requires at least some factual
15   allegation to provide “a short and plain statement of the claim
16   showing that the pleader is entitled to relief:”
17        While a complaint attacked by a Rule 12(b)(6) motion to
          dismiss does not need detailed factual allegations, a
18        plaintiff's obligation to provide the “grounds” of his
          “entitle[ment] to relief” requires more than labels and
19        conclusions, and a formulaic recitation of the elements
          of a cause of action will not do. Factual allegations
20        must be enough to raise a right to relief above the
          speculative level.
21
     Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)
22
     (citations omitted).   Here, Plaintiff states only the conclusion
23
     of law that “he exhausted all applicable administrative
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     remedies.”   Plaintiff has alleged no facts that he filed a claim
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     with the Labor Commissioner prior to commencing this suit, as
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     required for administrative exhaustion under § 98.6.
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 1          Livingston’s motion for partial judgment on the pleadings is
 2   GRANTED WITH LEAVE TO AMEND with regard to Plaintiff’s claim
 3   under Cal. Lab. Code § 98.6.
 4
 5   D.     California Labor Code § 1102.5
 6          Livingston argues that Plaintiff has not pled that he
 7   exhausted his administrative remedies under California Labor Code
 8   § 1102.5.     Cal. Lab. Code § 1102.5 prohibits an employer from
 9   retaliating against an employee when the employee discloses
10   information to a government or law enforcement agency under a
11   reasonable belief that the information discloses a violation or
12   noncompliance with state or federal statutes, rules, or
13   regulations.     Additionally, the employer may not retaliate when
14   an employee refuses to participate in the violating activity or
15   where the employee exercised such rights in any former
16   employment.     Id.   In Campbell v. Regents of the Univ. of Cal.,
17   the California Supreme Court held that under § 1102.5, a
18   plaintiff is required to exhaust all administrative remedies
19   before proceeding to suit.       35 Cal.4th at 317, 329.
20          Livingston argues that Plaintiff has not satisfied the
21   jurisdictional prerequisite of exhausting all administrative
22   remedies before the Labor Commissioner.         (Doc. 10 at 16.)
23   Livingston cites Neveu v. City of Fresno, 392 F.Supp.2d 1159,
24   1180 (E.D. Cal. 2005), where a similar challenge was raised.
25   There, the defendant challenged the plaintiff’s § 1102.5 claim,
26   arguing that the Labor Commissioner had exclusive jurisdiction
27   over such claims.      Applying Campbell, 35 Cal.4th at 333, Neveu
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 1   concluded that the Labor Commissioner’s jurisdiction was not
 2   exclusive and that the plaintiff was required to exhaust
 3   available administrative remedies before the Labor Commissioner
 4   prior to filing suit.      Neveu, 392 F.Supp.2d at 1180.   Because the
 5   plaintiff failed to allege that the administrative remedies were
 6   exhausted, the defendant’s motion to dismiss was granted for lack
 7   of jurisdiction.     Id.
 8        Plaintiff attempts to distinguish this case from Neveu by
 9   arguing that he has alleged that he has exhausted available
10   administrative remedies.     (Doc. 15 at 11.)    The complaint states:
11   “Prior to commencing this lawsuit, [Plaintiff] complied with the
12   California Tort Claims Act and he exhausted all applicable
13   administrative remedies.”     (Compl. ¶ 24.)    Livingston contends
14   that this allegation is insufficient because: (1) merely alleging
15   compliance with the Tort Claims Act does not satisfy the
16   exhaustion requirement with the Labor Commissioner, and (2) the
17   allegation does not specifically mention that the administrative
18   remedies available with the Labor Commissioner were exhausted.
19   Livingston cites Bowman, 2008 WL 3154691, at *2, where the court
20   concluded that “the filing of a Tort Claims Act claim does not
21   satisfy the purposes of the exhaustion of administrative remedies
22   requirement” for a § 1102.5 claim.
23        Bowman’s determination is buttressed by the fact that
24   section 98.7's administrative remedy requires the filing of a
25   complaint with the Labor Commissioner, a requirement distinct
26   from the mandate under the Tort Claims Act to file a claim with
27   the public entity.    Even independent of the Tort Claims Act
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 1   allegation, Plaintiff argues that he properly alleged
 2   “exhaust[ion] [of] all applicable administrative remedies.”
 3   (Compl. ¶ 24.)     This sole conclusory allegation is not sufficient
 4   to support a § 1102.5 claim.       Because a § 1102.5 claim contains
 5   the same exhaustion prerequisite as a § 98.6 claim, Plaintiff has
 6   failed to allege any facts to support a finding that the proper
 7   administrative remedies have been exhausted, despite his use of
 8   the term “all.”     See Hall, 2008 WL 5396361, at *4 (“[E]xhaustion
 9   of the administrative remedies prescribed in § 98.7 applies to
10   §§ 1102.5 and 98.6.”); Bowman, 2008 WL 3154691, at *2 (“Since
11   Plaintiffs have failed to allege facts showing they exhausted
12   applicable administrative remedies, their section 1102.5 claim
13   must be dismissed.”); Lund v. Leprino Foods Co., No. CIV. S-06-
14   0431, 2007 WL 1775474, at *4       (E.D. Cal. June 20, 2007) (“[I]n
15   order to bring a claim under section 1102.5 or 6310, plaintiff
16   must exhaust his administrative remedies.”).
17          Livingston’s motion for partial judgment on the pleadings is
18   GRANTED WITH LEAVE TO AMEND with regard to Plaintiff’s § 1102.5
19   claim.
20
21   E.     California Labor Code § 6310
22          Livingston challenges Plaintiff’s claim pursuant to
23   California Labor Code § 6310, arguing that this section does not
24   apply to the alleged facts.2       (Doc. 10 at 17.)
25
26          2
             At oral argument, Defendants argued that § 6310 is also
27   subject to the same administrative exhaustion requirement as
     § 98.6 and § 1102.5. Applying the reasoning in Campbell, 35
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 1        California Labor Code § 6310 prohibits an employer from
 2   discharging an employee for complaining of unsafe working
 3   conditions.   It provides, in its entirety:
 4             (a) No person shall discharge or in any manner
               discriminate against any employee because the employee
 5             has done any of the following:
 6                 (1) Made any oral or written complaint to the
                   division, other governmental agencies having
 7                 statutory responsibility for or assisting the
                   division with reference to employee safety or
 8                 health, his or her employer, or his or her
                   representative.
 9
                   (2) Instituted or caused to be instituted any
10                 proceeding under or relating to his or her rights or
                   has testified or is about to testify in the
11                 proceeding or because of the exercise by the
                   employee on behalf of himself, herself, or others of
12                 any rights afforded him or her.
13                 (3) Participated in an occupational health and
                   safety committee established pursuant to Section
14                 6401.7.
15             (b) Any employee who is discharged, threatened with
               discharge, demoted, suspended, or in any other manner
16             discriminated against in the terms and conditions of
               employment by his or her employer because the employee
17             has made a bona fide oral or written complaint to the
               division, other governmental agencies having statutory
18             responsibility for or assisting the division with
               reference to employee safety or health, his or her
19             employer, or his or her representative, of unsafe
               working conditions, or work practices, in his or her
20             employment or place of employment, or has participated
               in an employer-employee occupational health and safety
21             committee, shall be entitled to reinstatement and
               reimbursement for lost wages and work benefits caused
22             by the acts of the employer. Any employer who willfully
               refuses to rehire, promote, or otherwise restore an
23             employee or former employee who has been determined to
24
25   Cal.4th at 321, § 6310 is also subject to the exhaustion
     requirement. See also Lund v. Leprino Foods Co., No. CIV. S-06-
26   0431-WBS-KJM, 2007 WL 1775474, at *3-4 (E.D. Cal. June 20, 2007)
27   (finding that “in order to bring a claim under section 1102.5 or
     6310, plaintiff must exhaust his administrative remedies”).
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 1             be eligible for rehiring or promotion by a grievance
               procedure, arbitration, or hearing authorized by law,
 2             is guilty of a misdemeanor.
 3   Cal. Lab. Code § 6310 (emphasis added).
 4        Livingston argues that § 6310 applies only to workplace
 5   safety issues and Plaintiff’s complaint does not allege facts to
 6   support that workplace safety was at issue.      (Doc. 10 at 17.)
 7   Rather, Plaintiff’s complaint alleges that “the City retaliated
 8   against him for questioning Mr. Warne’s management of the City’s
 9   water fund, the legitimacy of change orders for a water line
10   replacement project, the timing of a water rate study, and
11   expressing concerns regarding potential well contaminants,”
12   assertions that Livingston contends are unrelated to the safety
13   of working conditions.   (Id. at 17-18.)
14        Plaintiff argues that the complaint sufficiently establishes
15   a § 6310 claim because § 6310 is broadly construed, citing
16   Cabesuela v. Browning-Ferris Industries of California, Inc., 68
17   Cal.App.4th 101, 109 (1998).    (Doc. 15 at 11.)     In that case, the
18   plaintiff, a truck driver, alleged that the defendant terminated
19   his employment for complaining about long driving hours, which he
20   believed posed a hazard to the employee truck drivers and others.
21   Id. at 108-09.   The court determined that this allegation was
22   sufficient to withstand a demurrer to the § 6310 claim because
23   the plaintiff reasonably believed that the working conditions -
24   driving long hours - were unsafe.      Id. at 109.
25        This case is distinguishable from Cabesuela.       Unlike
26   Cabesuela, where driving long hours was alleged to create unsafe
27   working conditions for defendant’s employee truck drivers,
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 1   Plaintiff does not allege any facts indicating that he was
 2   exposed to “unsafe working conditions, or work practices, in his
 3   . . . employment or place of employment” as required under §
 4   6310(b) or make assertions related to “employee safety or health”
 5   under § 6310(a)(1).    Plaintiff alleges that the hazard of
 6   contaminated water posed a public health risk to the residents of
 7   the City of Livingston and users of its water supply.       (Compl. ¶
 8   46.)    This risk, although public in nature, does not satisfy §
 9   6310's requirement that the employee complain of unsafe working
10   conditions or an unsafe workplace.     See Lujan v. Minagar, 124
11   Cal.App.4th 1040, 1043 (2004) (“Section 6310 makes it unlawful to
12   fire or otherwise retaliate against an employee who makes a
13   workplace safety complaint with government agencies.”).
14          Plaintiff further argues that the alleged facts create
15   numerous inferences that support a § 6310 claim, including:
16   Plaintiff “may have believed that City employees could be exposed
17   to contaminated water while working in Livingston; that
18   [Plaintiff] may have made complaints to government agencies about
19   the water quality; or even that Warne fired [Plaintiff] because
20   he believed [Plaintiff] may complain about those issues in the
21   future.”    (Doc. 15 at 12.)   None of these inferences support a
22   conclusion that Livingston maintained a hazardous or unsafe
23   working environment for Plaintiff, comparable to Cabesuela.
24          Livingston’s motion for partial judgment on the pleadings is
25   GRANTED WITH LEAVE TO AMEND as to Plaintiff’s § 6310 claim.
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 1   F.     Wrongful Termination In Violation of Public Policy
 2          Livingston argues that Plaintiff’s claim for wrongful
 3   termination in violation of public policy is barred by the Tort
 4   Claims Act, California Government Code § 810 et seq.          (Doc. 10 at
 5   18.)       Plaintiff does not oppose Livingston’s argument.
 6          In Miklosy v. Regents of the University of California, 44
 7   Cal.4th 876, 899 (2008), the California Supreme Court considered
 8   whether the Tort Claims Act barred the plaintiff’s common law
 9   claim of wrongful termination in violation of public policy (or
10   “Tameny claim”).3      Miklosy observed that the Tort Claims Act
11   “abolishes all common law or judicially declared forms of
12   liability for public entities.”         Id. at 899 (quoting Legislative
13   Committee comment, West’s Ann. Gov. Code § 815, p. 167 (1995))
14   (italics and internal quotations omitted).         The court determined
15   that because a Tameny claim is a common law cause of action, and
16   the Tort Claims Act abolishes common law tort liability for a
17   public entity, the Tort Claims Act bars a Tameny claim against a
18   public entity.       Id. at 899-900.
19          Here, Plaintiff’s sixth cause of action asserts the common
20   law tort of wrongful termination in violation of public policy
21
            3
22           In Tameny v. Atlantic Richfield Co., 27 Cal.3d 167, 170
     (1980), the California Supreme Court stated: “[W]hen an
23   employer’s discharge of an employee violates fundamental
24   principles of public policy, the discharged employee may maintain
     a tort action and recover damages traditionally available in such
25   actions,” creating a common law tort cause of action. The cause
     of action must be “carefully tethered to fundamental policies
26   that are delineated in constitutional or statutory provisions.”
27   Miklosy, 44 Cal.4th at 898 (quoting Gantt v. Sentry Ins., 1
     Cal.4th 1083, 1095 (1992)).
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 1   against Livingston, a municipality.        Because Livingston is a
 2   public entity, Plaintiff’s sixth cause of action is barred by the
 3   Tort Claims Act.
 4          Livingston’s motion for partial judgment on the pleadings is
 5   GRANTED WITH PREJUDICE as to Plaintiff’s sixth claim for wrongful
 6   termination in violation of public policy.
 7
 8   G.     California Tort Claims Act Claim Presentation Requirement
 9          The district court considers, sua sponte, whether
10   Plaintiff’s conclusory allegation that he “complied with the
11   California Tort Claims Act” is sufficiently pleaded for purposes
12   of the Tort Claims Act, California Government Code § 810 et seq.,
13   as it raises a jurisdictional issue.        (Compl. ¶ 24.)
14          The California Tort Claims Act requires that “all claims for
15   money or damages against local public entities” or public
16   employees acting within the scope of that employee’s public
17   employment must be presented to the employer.         Cal. Gov. Code
18   §§ 905, 950.2.     “[N]o suit for money or damages may be brought
19   against a public entity on a cause of action for which a claim is
20   required to be presented . . . until a written claim therefor has
21   been presented to the public entity and has been acted upon . . .
22   or has been deemed to have been rejected.”         Cal. Gov. Code §
23   945.4; see Maynard v. City of San Jose, 37 F.3d 1396, 1406 (9th
24   Cir. 1994) (stating that Tort Claims Act requirements apply to
25   public employees as well); Wilson-Combs v. Cal. Dep’t of Consumer
26   Affairs, 555 F.Supp.2d 1110, 1118 (E.D. Cal. 2008) (same); Julian
27   v. City of San Diego, 183 Cal.App.3d 169, 175 (1986) (same).
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 1        Presentation of a timely tort claim is a jurisdictional
 2   prerequisite to maintaining a cause of action against a public
 3   entity.    Ard v. County of Contra Costa, 93 Cal.App.4th 339, 343
 4   (2001); see also Hernandez v. McClanahan, 996 F.Supp. 975, 977
 5   (N.D. Cal. 1998).   A plaintiff’s supplemental state law claims
 6   against a California public agency are barred unless the
 7   plaintiff has complied with the requirements of the Tort Claims
 8   Act before commencing a civil action.     See Mangold v. Cal. Pub.
 9   Util. Comm’n, 67 F.3d 1470, 1477 (9th Cir. 1995).
10        The timely presentation of a claim under the Tort Claims Act
11   is not merely a procedural requirement but is an actual “element
12   of the plaintiff’s cause of action.”     Shirk v. Vista Unified Sch.
13   Dist., 42 Cal.4th 201, 209 (2007).     In the complaint, the
14   plaintiff “must allege facts demonstrating or excusing compliance
15   with the claim presentation requirement.      Otherwise his complaint
16   . . . fail[s] to state facts sufficient to constitute a cause of
17   action.”   State v. Superior Court (Bodde), 32 Cal.4th 1234, 1243
18   (2004); see also Shirk, 42 Cal.4th at 209.
19        Here, Plaintiff’s complaint states the legal conclusion that
20   he “complied with the California Tort Claims Act.”       (Compl.
21   ¶ 24.)    Under Twombly, while a complaint need not contain
22   detailed factual allegations under Fed. R. Civ. P. 8(a), it must
23   contain sufficient factual allegations “to raise a right to
24   relief above the speculative level.”     550 U.S. at 555.     Plaintiff
25   alleges no facts supporting his conclusory assertion that the
26   Tort Claims Act jurisdictional requirement has been met.
27   Accordingly, Plaintiff’s complaint fails to state facts
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 1   sufficient to constitute a cause of action against Livingston
 2   with respect to his state law tort claim.
 3        Plaintiff’s Tameny claim against Livingston has already been
 4   dismissed with prejudice because the Tort Claims Act bars such a
 5   claim against a public entity.    Accordingly, Plaintiff’s Tameny
 6   claim is also dismissed on the alternative basis that Plaintiff
 7   has failed to plead that he met the claim presentation
 8   jurisdictional prerequisite of the Tort Claims Act.
 9
10                              V.   CONCLUSION
11        For the foregoing reasons:
12          (1) Defendant Livingston’s motion for partial judgment on
13          the pleadings as to Plaintiff’s Monell claim is GRANTED
14          WITH LEAVE TO AMEND;
15          (2) Defendants’ motion for partial judgment on the
16          pleadings on the ground of qualified immunity is DENIED;
17          (3) as to the state constitutional damages claims,
18          Defendants’ motion for partial judgment on the pleadings
19          is GRANTED WITH PREJUDICE;
20          (4) Plaintiff is GRANTED LEAVE TO AMEND the state
21          constitutional claims as to equitable or injunctive
22          relief;
23          (5) as to Plaintiff’s claims under California Labor Code
24          §§ 98.6, 1102.5, and 6310 against Livingston, Defendant’s
25          motion for partial judgment on the pleadings is GRANTED
26          WITH LEAVE TO AMEND;     and
27          (6) as to Plaintiff’s sixth claim for wrongful
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 1           termination in violation of public policy, Defendant
 2           Livingston’s motion for partial judgment on the pleadings
 3           is GRANTED WITH PREJUDICE.
 4           Any amended complaint shall be filed within fifteen (15)
 5           days following electronic service of this decision.
 6
 7   IT IS SO ORDERED.
 8   Dated: May 18, 2009                  /s/ Oliver W. Wanger
     emm0d6                          UNITED STATES DISTRICT JUDGE
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